
{¶ 1} On June 3, 2010, the court reversed the judgment of the court of appeals in this case. State v. Bodyke, 126 Ohio St.3d 266, 2010-Ohio-2424, 933 N.E.2d 753, 2010 WL 2219064.
{¶ 2} Appellee, state of Ohio, and amicus curiae Ohio Attorney General have filed a joint motion for reconsideration and/or clarification.
{¶ 3} The motion for reconsideration and/or clarification is denied.
Brown, C.J., and Pfeifer, Lundberg Stratton, O’Connor, and Lanzinger, JJ., concur.
O’Donnell and Cupp, JJ., dissent.
